       Case 1:25-cv-00429-TSC             Document 54       Filed 03/05/25     Page 1 of 6




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW MEXICO, et al.,

                  Plaintiffs,                         C.A. No. 1:25-cv-00429

        v.                                            PLAINTIFF STATES’
                                                      SUPPLEMENTAL NOTICE IN
 ELON MUSK, et al.,                                   SUPPORT OF MOTION FOR
                                                      EXPEDITED DISCOVERY
                  Defendants.



       In support of their Motion for Expedited Discovery, ECF No. 45, the Plaintiff States submit

this notice of supplemental information. Last night, Defendant President Donald Trump stated to

Congress:

             To further combat inflation, we will not only be reducing the cost of energy,
             but will be ending the flagrant waste of taxpayer dollars. And to that end, I
             have created the brand new Department of Government Efficiency, DOGE.
             Perhaps you’ve heard of it. Perhaps. Which is headed by Elon Musk, who is
             in the gallery tonight.
LIVE: Donald Trump delivers speech to Congress, Assoc. Press (Mar. 4, 2025),

https://www.youtube.com/watch?v=LEygBVr1neI, at Tr. 1:26:52 (emphasis added).

       This admission is in conflict with statements made in the Fisher Declaration, previously

submitted by Defendants in this action. See ECF No. 24-1 at 1-2 (stating that Defendant Musk is

merely a “Senior Advisor to the President” and “is not the U.S. DOGE Service Administrator”).

       Plaintiffs submit this supplemental information as further support for their request for

expedited discovery.



                                                  1
      Case 1:25-cv-00429-TSC   Document 54     Filed 03/05/25      Page 2 of 6




Dated: March 5, 2025

                                   Respectfully submitted,

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                                      2
Case 1:25-cv-00429-TSC   Document 54     Filed 03/05/25      Page 3 of 6




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Case 1:25-cv-00429-TSC   Document 54     Filed 03/05/25      Page 4 of 6




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Case 1:25-cv-00429-TSC   Document 54     Filed 03/05/25        Page 5 of 6




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                                5
      Case 1:25-cv-00429-TSC        Document 54     Filed 03/05/25      Page 6 of 6




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                                           6
